Case 2:12-cv-06161-RBS Document6- Filed 12/03/12 Page 1 of 36

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

RAPHAEL GABAY, D.O. : CIVIL ACTION
9500 Roosevelt Blwd. :

Philadelphia, PA 19115

and

GABAY, SCHWARTZ, ENT AND

ASSOCIATES, P.C.

9500 Roosevelt Blvd.

Philadelphia, PA 19115

VS. : ?:12-cv-06161-RBS

GLEN JOSEPHS, CPA
Friedman LLP

406 Lippincott Drive, Suite J
Marlton, NJ 08003

and

FRIEDMAN LLP

406 Lippincett Drive, Suite J
Marlton, NJ @8603

AMENDED COMPLAINT — CIVEL ACTION
A. Introduction

This is an accounting malpractice action brought by Plaintiffs Dr. Raphael Gabay and Gabay,
Schwartz ENT and Associates, P.C. for damages sustained by the Plaintiffs when Defendants,
Plaintiffs’ accountants, who had set up a tax shelter plan for Plaintiffs, failed to file the necessary
forms with Plaintiffs” tax returns, triggering the disallowal of the shelter and extensive IRS

penalties.
B.  Jurisdiction/Venue/Jury

Venue is proper under 28 U.S.C. $1391. Jurisdiction is founded in diversity between Plaintiff, a

Pennsylvania citizen, and Defendants, citizens of New Jersey, and is thus proper under 28 U.S.C.
Case 2:12-cv-06161-RBS Document6- Filed 12/03/12 Page 2 of 36

$1332. The matter in controversy exceeds, exclusive of interest and costs, the sum specified by

28 U.S.C. $1332. A jury trial is demanded.

C. Factual allegations

1. Plaintiff, Raphael Gabay, D.O., (hereinafter “Gabay”) is an adult individual and
physician/owner of Gabay, Schwartz, ENT and Associates, P.C. at all times pertinent hereto
providing medical services at the above-listed address.

2, Plaintiff, Gabay, Schwartz, ENT and Associates, P.C. (hereinafter “GSA”) is a
Pennsylvania corporation and other medical care provider authorized to do business in the
Commonwealth of Pennsylvania at the above-listed address.

3. Defendant, Glen Josephs (hereinafter “Josephs”) is a Certified Public Accountant
and provides accounting services in the Commonwealth of Pennsylvania with offices at the
above-listed address.

4, Defendant, Friedman LLP is a New Jersey corporation and/or other business
providing accounting services in Pennsylvania at the above-listed address.

5. At all times pertinent hereto, and for years commencing in approximately 2000,
Defendants were retained by Plaintiffs to provide complete accounting services, including but not
limited to preparing tax returns, financial statements, providing financial and tax advice, and all
matters relating to the financial business of the Plaintiffs,

6. At all times pertinent hereto, the Defendants provided accounting and tax services
to the Plaintiffs specifically with regard to potential tax shelters and retirement plans.

7. Approximately in the year 2005, the Defendants represented to the Plaintiffs that
they shouid participate in tax shelter-employer contribution plans for retirement purposes called a

BETA Individual Employer Welfare Benefit Plan and trust - Plan 1 (hereinafter referred to as
Case 2:12-cv-06161-RBS Document6- Filed 12/03/12 Page 3 of 36

“the Plan”).

8. At all times pertinent hereto, the Defendants represented to the Plaintiffs that the
Plans would provide the Plaintiffs with a legal tax shelter in the form of a retirement contribution
which would reduce tax ability and specifically “shelter” income.

9, At all times pertinent hereto, the Defendants instructed, informed and advised the
Plaintiffs that the aforesaid Plans satisfied all tax regulations, codes, laws and statutes, and would
comply with all Internal Revenue Service regulations.

10. At all times pertinent hereto, the Plaintiffs totally relied upon those material
representations in all respects and specifically as to the legitimate status of the Plans and its
compliance with IRS rules and regulations.

11, From 2004-2008, the Plaintiffs consistent with instructions from the Defendants
contributed $250,000 and complied with all requirements to maintain the legitimate and effective
status of the Plans as prescribed by the Defendants.

12. In March of 2008, the Plaintiffs were informed by the Internal Revenue Service
that the Plans were subject to an audit.

13. Upon receipt of that information, Plaintiffs requested the Defendants to represent
them in these matters, and defend the audit.

14. ‘The audit occurred over the time period from 2008 to 2012, wherein the Plaintiffs
were required to expend substantial time and money in providing various documentation and
mformation as requested from the Internal Revenue Service.

15. During the course of the audit, Plaintiffs also retained the services of the law firm
of Michelle Espey, Esquire to assist in defending the audit and challenge the allegations made by

the Internal Revenue Service, to disqualify and otherwise penalize Plaintiffs.
Case 2:12-cv-06161-RBS Document6- Filed 12/03/12 Page 4 of 36

16. During the course of the IRS audit, on or about September 15, 2011, the IRS
alleged and concluded that the taxpayers (plaintiffs in thts action) failed to file a basic but
necessary form to maintain legal status of the Plans.

17. As a result of the aforesaid conclusion, the Plaintiffs were fined substantial sums
in penalty outlined specifically hereinafter.

18. All actions of the Defendants were committed by the Defendants through their
agents, servants, workmen and employees.

COUNT I
Raphael Gabay, D.Q. vs. Defendant, Glen Josephs, CPA and Friedman LLP

19. Plaintiff incorporates by reference each and every averment contained in
paragraphs 1 through 18 inclusive of the instant Complaint as though the same were hereinafter
fully set forth.

20. In January of 2012, after much negotiation, counsel fees, time and expense, the
Plaintiffs were requested to pay penalties in the amount of $85,000.00.

21, During the course of the IRS audit, on or about September 15, 2011 the IRS
alleged and concluded that the Plaintiff, Gabay failed to file a form 8886 for 2007.

22. With respect to Plaintiff, Gabay, individually, the IRS subsequent to the audit,
rendered the following conclusions:

(a) Fined Plaintiff, Raphael Gabay $85,000 (reduced originally from
$100,000) rendering the following conclusions:

(b)} Failing to disclose participation by filing form 8886 with Office of Tax
Administration for year December, 2007, and such was fined $80,305.00. See Exhibit “A”, IRS

Conclusion:
Case 2:12-cv-06161-RBS Document6 - Filed 12/03/12 Page 5 of 36

(c) Fatling to attach form 8886. See Exhibit “A”.

23. Asaresult of the audit, as contained in reports generated by the IRS dated January
9, 2012, it was rendered crystal clear that Defendants failed to file a simple form on behalf of all
of the Plaintiffs termed “Form 8886” which would have effectively notified the IRS of the
deduction(s) for the years in question, thus preventing the aforesaid penalty and expenses.

WHEREFORE, Plaintiffs demand judgment against the Defendants, jointly, severally and
singularly in a sum in excess of Seventy-Five Thousand ($75,000.00) Dollars.

COUNT IE

Gabay Schwartz ENT & Associates, P.C. vs. Defendant,
Glen Josephs, CPA and Friedman LLP

24. Plaintiff incorporates by reference each and every averment contained in
paragraphs | through 24 inclusive of the instant Complaint as though the same were hereinafter
fully set forth.

25. On or about January 9, 2012, after much negotiation, counsel fees, time and
expense, the Plaintiff, Gabay Schwartz ENT and Associates, P.C. (hereinafter referred to as
“GSA”) were requested to pay penalties in the amount of Ten Thousand ($10,000.00) Dollars.

26. During the course of the IRS audit, on or about September 15, 2011, (See Exhibit
“C") the IRS alleged and concluded that the Plaintiff, GSA failed to file a form 8886 for 2007.

27, With respect to Plaintiff, GSA, the IRS subsequent to the audit, rendered the
following conclusions:

(a) Fined Plaintiff, GSA $10,000 rendering the following conclusions:
(b) Failing to disclose participation by filmg form 8886 with Office of Tax

Administration for year December, 2007, and such was fined Ten Thousand ($10,000.00)
Case 2:12-cv-06161-RBS Document6 - Filed 12/03/12 Page 6 of 36

Dollars. See Exhibit “A”, IRS Conclusion.
{c) Failing to attach form 8886. See Exhibit “B”.

28.  Asaresult of the audit, as contained in reports generated by the IRS in September
of 2011, it was rendered crystal clear that Defendants failed to file a simple form on behalf of all
of the Plaintiffs termed 8886 which would have effectively notified the IRS of the deduction(s)
for the years in question thus triggering the aforesaid penalties and expenses.

WHEREFORE, Plaintiffs demand judgment against the Defendants, jointly, severally and

singularly in a sum in excess of Seventy Five Thousand ($75,000.00) Dollars.

Count IH
Negligence

29, Plaintiffs incorporate paragraphs 1-28 of this Complaint as if the same as though
the same were set forth fully herein.

30. At ail times pertinent hereto the Defendants held themselves as professional
experts in the area of accounting and providing financial advice with regard to retirement plans
and tax shelters.

31. At all times pertinent hereto the Plaintiffs collectively relied upon the Defendants
with regards to their knowledge and expertise concerning the above-referenced matters.

32. At all times pertinent hereto the Defendants rendered advice as experts in the area

of accounting and with regards to all specific matters concerning the Plans set forth above.
Case 2:12-cv-06161-RBS Document6 - Filed 12/03/12 Page 7 of 36

33. in addition, at all times pertinent hereto, the Defendants ensured the Plaintiffs
would satisfy all legal requirements with regards to maintaining legitimate status of the Plans,
and specifically would file all appropriate documentation to maintain the status of the plan
in a legal and compliant manner.

34. In addition, the Defendants were specifically negligent and careless in the
following manner:

(a) Failing to properly advise the Plaintiffs with respect to the legitimacy and
compliance and authenticity of the Plans for the purposes intended;

(b) Failing to provide proper and adequate advice with regards to the
suitability and acceptance by the IRS with regards to the Plans;

(c) Failing to investigate and/or research the legitimacy, legality, and
acceptance of the Plans with regards to IRS regulations and protocol;

(d) Failing to properly advise the Plaintiffs of the serious potential and
possibility of expenses, audit and challenges by the IRS of the legitimacy of the aforesaid Plans.

(e) Failing to provide the Plaintiffs with alternatives that would have been
either less risky or without any risks avoiding expense, audit and the penalties as set forth above;

(f) Failing to advise the Plaintiffs with respect to all proper requirements of
the IRS to maintain the legitimacy and compliance of the Plans;

(z) Failing to file all proper filings, including but not lmmited to Form 8886 for
both Plans, thus resulting in serious expenses, penalties and losses;

(h) Failing to file and comply with other requirements regarding the Plans;

wD Failing to present the Plaintiffs with viable alternatives which would have

been compliant with all IRS rules and regulations;
Case 2:12-cv-06161-RBS Document6 - Filed 12/03/12 Page 8 of 36

(j} Receipt of financial enumeration in the form of benefits, fees,
commissions and payments without proper disclosure and in conflict with the interests of the
Plaintiffs;

(k) Failing to monitor, advise, file and take all appropriate action to the benefit
of the Plaintiffs with regards to tax shelters.

WHEREFORE, Plaintiffs demand judgment against the Defendants, jointly, severally and
singularly in a sum in excess of Seventy Five Thousand ($75,000.00) Dollars.

Count UI
Negligent Representation

35. Plaintiffs incorporate paragraphs 1-34 of this Complaint as if the same as though
the same were set forth fully herein.

36. At all times pertinent hereto the Defendants represented the legitimacy and
compliance of the Plans.

37. The Plaintiffs relied upon Defendants’ representations and participated in the

Plans,

38. The misrepresentations as to their legitimate status and that the Defendants would
file all proper forms was substantial and material, resulting in harm to the Plaintiffs,

WHEREFORE, Plaintiffs demand judgment against the Defendants, jointly, severally and
singularly for the misrepresentation in a sum in excess of Seventy Five Thousand ($75,000.00)

Dollars,

Y

DAVID B. SHERMAN, ESQUIRE
Attorney for Plainti

PA ID#36437

BY:

Case 2:12-cv-06161-RBS Document6 - Filed 12/03/12 Page 9 of 36

Solomon, Sherman & Gabay

8 Penn Center

1628 JFK Boulevard, Suite 2200
Philadelphia, PA 19103

(215) 665-1106

(215) 665-8471 FAX

Dated: November 28, 2012
Case 2:12-cv-06161-RBS Document6- Filed 12/03/12 Page 10 of 36

EXHIBIT “A”
. Case 2:12-cv-06161-RBS Document6 Filed 12/03/12 Page 11 of 36

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(REV JANUARY 1994} Rev, January 2008

Of NUMBER YEARIPERIOD ENDED
December 31, 2007

NAME OF TAXPAYER
Raphael Gabay

Year 2007.
Penalty per Section 67074 $85,305.00

se

3

Whether Raphael Gabay (hereinafter the Taxpayer’) is subject fo the LR.C. § 6707A' penalty
for failure to disclose a reportable transaction pursuant to section 6014 and the associated

regulations?

a) Is the BETA Individual Employer Welfare Benefit Plan and Trust (hereinafter the
“Plan’) the same as, or substantially similar to, the transaction described in IRS Notice 2007-

837

b) Has the Taxpayer participated in a listed transaction during the tax year(s) ended
December 31, 2005, December 31, 2006 and December 31, 2007?

c) Did the Taxpayer fail to properly disclose its participation in accordance with
Treasury Regulation section 1.601 1-4 for the tax year ended December 31, 2007 by failing to

file Form 8886:

(1) With its Income Tax Return, Form 1040, for the year shown above; and/or,

(2) With the Office of Tax Shelter Analysis (hereinafter “OTSA’).

FACTS

_ The issues in this case arise from Gabay Schwarz Ent & Associates Inc.'s (hereinafter
the."Employer") participation in the BETA Multiple Employer Death Benefit Plan and Trust
_{“Muttiple Employer Pian” or "MEP") and subsequent adoption of the BETA individuat
Ernployer Welfare Benefit Plan and Trust (“Single Employer Plan* or "SEP".

"The Employer is a S Corporation. The individual Taxpayer's ownership is listed below:

Shareholder Partner Name Pian Participant ? Ownership %
a a YesiNo toe ee
tL / | 93.8% 2007

me CS ie SSGLOHS ATE 1 she internal Revenue Code-of-1986}-as-amended-ant-in.effect for... a
the years at issue.

FORM 886-A (REV. 01-94} Page 4 DEPARTMENT OF THE TREASURY-- INTERNAL REVENUE

SERVICE
Case 2:12-cv-06161-RBS Document6 Filed 12/03/12 Page 12 of 36

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NAME OF TAXPAYER ATION NUMBER YEARIPERIOD ENDED
Raphael Gabay , December 31, 2007

Yes 26.0% 2005, 2006

ShEmployee #2
: 6.4% 2007 |

The Employer participated in the Multiple Employer Plan prior to the amendment of the

MEP and creation and adoption of the Single Employer Plan, and the concurrent allocation of

MEP assets to the single employer plans. The Employer adopted the Multiple Employer Plan

‘ by executing an Adoption Agreement effective n/a. A copy of the Adoption Agreemeni, along
with other information was requested and never provided.

Under the Muttiple Employer Plan, current life insurance protection was provided to
covered employees. A covered employee designaied the beneficiary of the death proceeds
payable upon the employee's death. The Multiple Employer Plan purporied to be a weitere
henefit fund that met the exception provided by section 41 SA(A(6) from contribution deduction
imitations imposed under sections 419 and 419A, Section 419AG)(6) applies only to
contributions to a plan to which more than one employer contributes and to which na -
employer normally contributes more than 40 percent of the total contributions contributed to
the plan by all employers. Furthermore, the exception applies only if the plan does not .
maintain experience-raiing arrangements with respect to individual employers. A plan does
not meet the requirements of section 479A(8(6) unless 10 or more employers contribute to 4
single pool of funds, and that single pool of funds is for the use of the group of employers as
a whole (@.g., to pay the claims of all employees covered under the plan}. Booth et al. v.

Commissioner, 108 T.C. 524 (1997).

. ' Participating employers made contributions to the Multiple Employer Plan, which the
Plan Trustee used to purchase fife insurance policies from third-party insurance carriers on
the lives of the employer's employees, Owners, OF other persons. Under the terms ofthe =
arrangement, the policies were owned by the Beta Multiple Employer Welfare Benefit Plan
and Trust, which utilized a non-exempt irust to hold the plan assets. Each covered employee
selected the beneficiary of the death benefits payable under the MEP upon the employee's
death.. The insurance policies were generally types of fife insurance policies in. which a

~ portion of policy premiums are allocated to a cash value account within the policy that

accumulates as premiums are paid and interest or other investment acciuals are credited by
erred to as Whole Life, Universal Life

the issuer. These types of policies are commonly ref
(UL) or Variable Universal Life (VUL}.

_” The Plan Sponsor, Designs for Finance, inc. ("DFE"), amended the Multiple Employer
Pian.to create the Single Employer Plan, an arrangement under which a separate single ,
employer planris provided for each participating employer. _A.common dust holds the plan_
__asgets of each employer's single employer plan. The Multiple Employer Pian assets

alidcated, to the individual single employer plans remained with the Trustee of the Multiple

___ Employer Plan, North Fork Bank, anda “common administration trust” was established to

feach employer's sifigie employer plan: However; under the Single meet entlewes

FORM 886-A (REV. G1-94) Page 2 DEPARTMENT OF THE TREASURY— INTERNAL REVENUE

SERVICE
.. Plan which meets and complies with ail of the requirements o

Case 2:12-cv-06161-RBS Document6- Filed 12/03/12 Page 13 of 36

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Rev. January 2008 ©

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NAME OF TAXPAYER
December 31, 2007

Raphael Gabay

Employer Plan, there is separate accounting with respect to the participanis of each
employer's single employer plan.

The Multiple Employer Plan assets allocated to single employer plans were ho longer
subject to claims relating to employees of other employers. in other words, assets
attributable to amounts previously contributed to the Multiple Employer Pian (as well as
assets aitributable to subsequent contributions to an employer's single employer plan) were
held for the exclusive benefit of the employee(s) of the employer who had contributed such
amounts. Further, these assets were held without any risk, which purportedly existed under
the Multiple Employer Plan, that the assets could be used for the employees of other

employers.

+ Both the Multiple Employer Plan and the Single Employer Plan provided death benefits
funded through cash value life insurance policies. Although the Beta individual Employer
Arrangement allowed for the provision of other benefits, a July 13, 2005, opinion letter to DFF
states that as of that date, the Single Employer Plan provided no sick and accident benefits,
no disability or severance benefits, or any “other benefits” similar to fife, sick or accident
benefits, and there was no intention te provide such benefits.

There are at least three Plan and Trust Agreements for the Beia individual Employer
Welfare Benefit Plan and Trust dated January 4, 2003. All versions are signed by the Plan
‘Sponsor, DFF, and ihe Trustee, North Fork Bank; two versions provide an execution date of
December 1, 2003, and the third is undated. The signatures are unique to each document.
There is also an amended Single Employer Plan and Trust Agreement dated January 1,

2006, which was executed on December 30, 2006.

A Multiple Employer Welfare Benefit Trust Severance Agreemeni affective January 1,
 2003,-was signed by DFF, North Fork Bank-and Pointe Benefit Consultants. There is no date
_on the Agreement that corresponds to the signatures and no information has been provided

regarding the date the Severance Agreement was signed. The Severance Agreement states
ihat the Beta Multiple Employer Plan “contains more favorablé féatures and flexible
administration terms for covered employers and their participating employees, than would 2,
. f the regulations” for section ,
' 44 9A(H(8). As a resuil, the parties to the Agreeinent have decided “fo Sever the existing

_ [BETA Plan and Trust into separate individual employer dlans maintained under a common

__ administration trust.” The parties to the Agreement desire “tg modify their participation in the
-, BETA Plan and continuing under the newly established single employer format with Master
\-FrustAgreement:* Phe Agreement-further st tes that Pointe. Benefit “established a common

".- 449(e) trust for Plan years subsequent to December 34, 2003," contributions fo Which “are ~~
h under Section 419A(c) of the Code, as actuarially

" subject to the funding limitations set fort
_determined by an actuary.” os

FORM 885-A (REV. 01-04} Page 3 DEPARTMENT OF THE TREASURY— INTERNAL REVENUE
SERVICE
Case 2:12-cv-06161-RBS Document6- Filed 12/03/12 Page 14 of 36

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MAME OF TAXPAYER N NUMBER YEARPERIOO ENDED
Raphael Gabay December 31, 2007

Subsequent to the adoption of the Single Employer Plan, the BETA Plan Trustee
requested that the ownership of the following life insurance policies be transferred from the
_ “North Fork Bank as ‘Trustee under the BETA Muttiple Employer Welfare Benefit Plan & Trust
_ dated 8/24/94 ~ 275 Broadhollow Road ~ Melville, NY 17747 TIN XX-XXXXXXX" to the “North
’ Fork Bank as Trustee under the BETA individual Employer Welfare Benefit Pian & Trust
dated 1/1/03 ~ 48530 Mack Ave., Suite 319 ~ Grosse Pointe Farms, Mi 48236 TIN T1- -

3244499,"

Covered Employes Insurance Co. Policy # Date Beneficiary

, , . Change Was Requested
Raphael Gabay Guardian 4046410 wa
Employee #2 Guardian _ nla “Wa |

The Employer contributed the following amounts to the Beta individual Employer
Welfare Benefit Plan:

Year Contribution
(net of annual fee)
2005 $178,784
2006 $250,000
‘| 2007 SO

‘The Employer deducted the following

- amounis on its Form 411208 in regard to the
“contributions it made to the Plan: . Peas :

Year Deduction Line Crown)
2005 | Pension, Profit $478, 784 ..
Sharing, Etc. oo . .
3006 - -|-  Pension,-Profit...... $950,000 20 ob oe bene ee
Sharing, Etc. : eet.

FORM 888-4 IREV. 01-94) Page 4 DEPARTMENT OF THE TREASURY INTERNAL REVENUE
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Case 2:12-cv-06161-RBS Document 6 Filed 12/03/12 Page 15 of 36

SCHEDULE NO. OR

| Form B86-A
(REV, JANUARY 1994} EXPLANATION OF [TEMS EXHIBIT
Rev. January 2008

NAME OF TAXPAYER
Raphael Gabay

FICATION NUMBER YEARIPERIOD ENDED
December 31, 2007

As a result of these deductions, the amount of income flowing through to the Taxpayer's
individual Return, Form 1046, was reduced and the Taxpayer benefited from the Employer's

participation In the Plan.

The Employer had the ability to terminate ifs participation and cause the disiribution of

the insurance policies contirued under the Single Employer Plan. The Beta individual ,
_ Employer Welfare Benefit Plan and Trust Agreement (the “Beta Individual Employer

Agreement’ or the “Agreement’), dated December 1, 2003, states that, under certain
_circumstances, the Employer “shall have the right to terminate [the] Plan and Trust as a

withdrawal by delivering writfen notice of such termination to the Recordkeeper to be
forwarded to the Trustee with properly authorized written directives.” Beta Individual
Employer Agreement, Article 6.03. The circumstances required are any which meet one of
five criteria pertaining to the status or operation of the employer's business. One of the
criferia is merely that “[a] determination of the majority in ownership interest af the employer's
equity by vote and value that the continuation of the Plan is not in the best interests of the
Employer and its employees on an engaing basis” has been made. Id. Thus, even assuming
_ that the rules put forth in the Beta Individual Employer Agreement are followed in practice, an

employer can terminate its participation in the Beta individual Employer Arrangement (and
thus terminate its single employer plan) at any time by providing written notice to the

Arrangement.

The Beta individual Employer Agreement provides for the distribution of ihe assets of
ihe trust associated with an employer's single employer plan, upon an employer's termination
of participation in. the Beta individual Employer Arrangement. See Beta Individual Employer
Agreement Article 6.03(c). Under the Agreement, the distribution would be determined by a
tatio based on either (1) an employee's PS-58 costs as compared to the total PS-58 costs of
all covered employee's, or (2) an employee’s compensation as compared to the total .
compensation of all covered ernployees. See Agreement Article 6.03(c)(iti).

The Employer did not attach the Forin 8886 Reportable Transaction Disclosure
Staterment to its return for the 2007 tax yeer- ST Se
a ‘The Employer did not file a copy af the Form 8886 Reportable Transaction Disclosure
Statement to Office of Tax Shelter Administration for the 2007 year, the first year required per
' notice 2007-83. o oe ae, De ‘,

Section 6707A(a) provides that “any person who fails to include an any return or statement -
" any. information with respect to a reportable transaction which Is required under section 6014 -

io be cluded With such returrrorstatement-shall pay-a-perally-in-the.amount determine’, sev
under subsection (b).”

FORM 886-A (REV. 01-94} Page 5 DEPARTMENT OF THE TREASURY-- INTERNAL REVENUE

SERVICE
Case 2:12-cv-06161-RBS Document6 Filed 12/03/12 Page 16 of 36

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Rey. January 2008

YEARIPERIOD ENDED

NAME OF TAXPAYER
December 31, 2007

Raphael Gabay

Section 6707 A(b) imposes a penalty for failing to disclose participation ina “Wisted
transaction’ in the amount of 75 percent of the decrease in tax shown ori the return as a
result of such transaction (or which would have resulted from such iransaction if such
transaction were respected for Federal tax purposes}. The amount of the penalty shall not
excead $200,000 and $100,000 in the case of a natural person and shall not be less then
$10,000 and $5,000 in the case of a natural person ior assessimenis made alter December

31, 2006.

_ Section 6707A (d) (1) grants the Commissioner authority to rescind ail or a portion of any

penalty imposed under section 6707A if (1) the violation relates.to a reportable transaction
thatis not a listed transaction and (2) rescission of the penalty would promote compliance
with the requiremenis of the Code and effective tax administration.

“Section B707A(ch2} defines the term “listed transaction” to mean a reportable transaction
which is the same as, or substantially similar to, a transaction specifically identified by the
Secretary as a tax avoidance transaction for purposes of section Sori"

'Eor Transactions Entered Into On Or After February 28, 2003 (Taxpayers Mav Rely on
These Requiations For Transactions Entered Inte On Or After January 4, 2003) and

Before August 3, 2007 {T.D. $046)

All references to § 1.601 1-4 are to that regulation as modified by TD 9046, 2003-1 C.B. 614.

fevery taxpayer that has participated, as described in § 1.6011-4(c)(3), in 4 reportable
transaction within the meaning of § 1.601 1-4(b) and who is required to file a tax retum must

_ attach to lis return for the taxable year described in.§ 1.60% 4-4{e) a-disclosure statement in
‘the form prescribed by §1.6011-4(d).- Treas. Reg. § 1.6011-4{a). - -

A reportable transaction Is a iransaction described in § 4.6011-4(b}(2) through (7). The term

_ trangaction includes all of ihe factual elements relevant to the expected tax treatment of any
investment, entity, plan, or arrangement, and includes any series of steps carried out as part

. ofa plan. There are six categories of reportable transactions: listed transactions, confidential
transactions, transactions with contractual protection, loss transactions, transactions with a”:

significant book-tax difference, and transactions involving a brief asset holding period. Treas.

Reg. § 1.6011-4(b)(1).

oe “pc listed’ frangaction-is-a-transaction-thatis.the.same.as or. substantially similar to.one of the

- ___guidance as a listed transaction. Treas. Reg. § 4.6011-4(b)(2).

types of transactions that the internal Revenue Service (IRS) has determined to be a tax
avoidance transaction and identified by notice, regulation, or other form-of published

FORM B86-A (REV, 01-94) Page & GEPARTMENT OF THE TREASURY— INTERNAL REVENUE

SERVICE
Case 2:12-cv-06161-RBS Document6 Filed 12/03/12 Page 17 of 36

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YEARIPERIOD ENDED

NAME OF TAXPAYER
Decamber 31, 2007

Raphael Gabay

A taxpayer has participated in a listed transaction if the taxpayer's tax return reflects tax
consequences or a tax strategy described in the published guidance that lists the transaction
under § 1.6011-4 (b)(2). A taxpayer also has participated in a listed transaction if the
taxpayer knows or has reason fo know that the taxpayer's tax benefits are derived directly or

"indirectly from tax consequences or 4 iax strategy described in published guidance that lists a

transaction under § 1.604 {-4(b)(2). Published guidance may identify other types or ciasses,

of persons that will be treated as participants in a listed transaction. Treas. Reg. § 4.6017-.
4(c)(3)(IMA).

The term substantially similar includes any transaction that is expected to obtain the same or
similar types of tax consequences and that is either factually sirnitar or based on the same or

similar tax strategy. Receipt of an opinion regarding the tax consequences of the transaction
- is not relevant to the determination of whether the transaction is the same as or substantially
eimilar to another transaction. Further, the term substantially similar must be broadly

construed in favor of disclosure. Treas. Reg. § 1.6011-4(c}(4). - : oe

‘The disclosure statement for a reportable transaction, Form 8886 “Reportabie Transaction

Disclosure Statement” (or successor form), must be atlached to the taxpayer's tax retum for
each taxable year for which a taxpayer participates ina reportable transaction, In addifion, a

copy of the disclosure statement must be sent to OTSA at the same time that any disclosure

statement is first fited with the taxpayer's tax return.

ff a transaction becomes 4 listed transaction after the filing of the taxpayer's final tax return

‘reflecting either tax consequences or a tax strategy described in the published guidance
‘listing the transaction (or a tax benefit derived. from tax consequences ora tax strategy

described in the. published guidance listing the transaction) and before the end of the slatute
of limitations period for that return, then a disclosure statement must be filed as an

- aitachment to the taxpayer's tax return next fled after the date the transaction is listed...

Treas. Reg. § 1.6011-4(e 2).

. Example From the Regulations - Treasury Regulation § 1.6014-4(e)(4) reads as follows: .

(4) Example. The following example illustrates the application.of this paragraph {e):
Example. lh January-of 2004, F, a domestic calendar year corporation, enters inte a
transaction that'is not a listed iransaction when entered into and is nota transaction - -
_ ‘described in any of the paragraphs (b)(3) through (7) of this section. All the tax benefits
from the transaction are reported on F's 2004 tax return. On March 1, 2008, the IRS
. publishes-a-natice” identifying the transaction. s.a listed irensaction deseribec: f. wee

paragraph (b)(2) of this section. Thus, upon issuance of the notice, the fransaction
‘becomes a reportable transaction described in paragraph (b) of this. section. The.

Statute of limitations for F's 2004 taxable year is still open. F is required to file Form

- 8886 for the transaction as an attachment to F's nextflled- Federe tincoretax-retum.—..~. wnat or ve

FORM S66-A (REV. 01-94) Page 7 DEPARTMENT OF THE TREASURY-- INTERNAL REVENUE

SERVICE
_ Case 2:12-cv-06161-RBS Document 6 Filed 12/03/12 Page 18 of 36

Form 886 A . DLL Oe Sr)t

. Form 886- y + . EXHIB

* (REV, JANUARY 1894) EXP A ary 2 aes AvIBT
NAME OF TAXPAYER DENTIFICATION NUMBER YEARIPERIOD ENDED
Raphael Gabay December 31, 2007

and must serid a copy of Form 8886 to OTSA. If F's 2007 Federal income tax retum
has not been filed on or nefore the date the Service identifies the transaction as 2

listed transaction, Form 8286 must be attached io F's 2007 return and at that time a
copy of Form 8886 must be sent to OTSA, , os

‘Notice 2007-83

tn Notice 2007-83, the IRS alerted taxpayers and their representatives to some of the
significant tax problems that may be raised by certain trust arrangements claiming to be
welfare benefit funds and involving cash value life insurance policies that are being promoted
to and used by taxpayers to improperly claim federal income and employment tax benefits.
_ The notice aleris taxpayers and their representatives that those fransactions are tax
avoidance transactions and identifies certain iransactions using trust arrangements invalving _
cash value life Insurance policies, and substantially similar transactions, aS listed- transactions

for purposes of § 4.604 1-4(b)(2} of the Income Tax Regulations and §§ 6111 and 6172 of the
Code. .

Notice 2007-83 describes generally arrangemenis that are sometimes referred to by
_ the persons advocating their use as "single employer plans" and sometimes as “419(e)
plans.” Those advocates claim that employers’ contributions to the trust are deductible under
sections 419 and 419A as qualified costs2 but that there is nota corresponding inclusion In

the owner's income.

Under these arrangements, the plan and trust documents indicate that the plan —

" provides benefits. such as current death benefit protection and certain welfare benefits fo

_ covered employées (iricluding thése employees who are also owners of the business). The

* arrangernent provides that the benefits are payable while the employee is actively employed

" by the employer. The employer's contributtons. are offen based on- premiums charged for
cash value life insurance policies. For example, contributions may be based on premiums

" that would be charged for whole fife policies. As-a result, the arrangements often require

~ farge employer contributions relative fo the actual cost of the benefits currently provided
under the plan. SD oe Pe nS

ov Under these arrangements, the irusteé.uses the employer's contributions to the irust
" * §¢@ purchase life insurance policies. The trustee typically purchases cash Value life insurance
~- policies oft the lives of the employees who are owners of tiie business (and sometimes other
. key employees), while purchasing term life insurance policies on the lives.of ihe other
~ ~ Seployees-covered under the. plan... is anticipated that afler, 3 number of years the plan will
' “be terminated and the cash valtie life Insurance policies, cash, or other property Held By the” Hans
' trust will be distributed to the employees who are plan participants. at the lime ofthe.

"2. Section AOD of the Code generally describes qualified.costs as the sant of qiistitied wireer dusts plus additions to-—-7~ devon nen

qualified asset accounts.

FORM @56-A (REV. 07-94) Page & OEPARTMENT GF THE TREASURY-- INTERNAL REVENUE

SERVICE
Case 2:12-cv-06161-RBS Document6 Filed 12/03/12 Page 19 of 36

Form 88 6-A , . . ai wee :
Rev. January 2008

Shut PL Rete Fehr, NE

NAME OF TAXPAYER
Raphael Gabay

ICATION NUMBER YEARPERIOR ENDED
te Dacember 31, 2007

termination. While a smalf amount may be distributed to employees who are not owners of
the business, the timing of the plan iermination and the methods used {o allocate ihe
remaining assets are siructured so that the business owners and other key employees wil
receive, directly or indirectly, allora substantial portion of the assets held by the trust.

In addition, Notice 2007-83 ideniifies certain arrangements as listed transactions.
Notice 2007-83 states that any transaction that has ail of the following elements, and any
transaction that is substantially similar fo such a transaction, are identified as. ‘listed.
transactions” for purposes of § 4.6011-4(b)(2) and §§ 611i and 6172, effective October 17,

2007:

~ (4) The transaction involves a trust or other fund described in § 419(e)(3) that is.
purportedly a welfare benefit fund. so - 4

(2). For determining ihe portion af its contributions to the trust or other fund that are
currently deductible the employer does not rely on the exception in § 41SACGYSMAD
(regarding collectively bargained plans).

3) _ The trust or other fund pays premiums (or amounts that are purported to be premiums)
on one or more life insurance policies and, with respect to at least one of the policies,

value is accumulated either:

(a) within the policy (for example, & cash value life insurance policy); or

7 : {b) outside the policy (for example, in a side fund or through an agreement ouside

the policy allowing the policy to be converted to or exchanged for a policy which -

/ ‘will, at some point in time, have accumulated value based on the purported
premiums paid on the original policy). Ba es

_ {4) The employer has taken a dedtiction for any taxable year for its contributions to the

“fund with respect to benefits provided-under the plan (other ihan post-retirement .
medical benefits, post-retirement life insurance benefits, and child care faciiities) that
is greater than the sum of the following amounts:

ay _’ With respect to any uninsured benefits provided under the. plan,
~ (1) an amount equal to claims that were both incurred and. paid during the
taxable year; plus So ot

“oes es ied eserves allowable ind §2TOATE} AY (C1) 28 applnbles

plus

FORM 886-4 (REV, 01-94} Page 9 DEPARTMENT OF THE TREASURY — INTERNAL REVENUE

SERMICE
Case 2:12-cv-06161-RBS Document 6 Filed 12/03/12 Page 20 of 36

- Gorm 886A - - SCHEDULE NO. OR
_ EV, JANUARY 1994) EXPLANATION OF ITEMS EXHIBIT
" ” Rev. January 2008
NAME OF TAXPAYER iON NUMBER YEARIPERJOD ENDED
Raphael Gabay December 31, 2007

(ii) amounts paid during the taxable year to satisfy claims incurred ina prior
taxable year (but only fo the extent that no deduction was taken for such

arnounts in a prior year), plus

_(iv) amounts paid during the taxable year or a prior taxable year for

administrative expenses with respect to uninsured benefits and thal are
properly allocable to the taxable year (but only to the extent that no

deduction was taken for such amounis in 4 prior year).
{b) With respect io any insured benefits provided under the pian,

(i) insurance premiums paid during the taxable year thal are praperly
‘allocable to the taxable year (other than premiums: paid with respect fo a

policy described in (3)(a) or (b) above); plus

Gi) insurance premiums paid in prior taxable years that are properly allocable
to the taxable year (other than premiums paid with respect to a policy
described in (3)(a) or (6) above); plus

(ii) arnounts paid during the taxable year or a prior taxable year jor
administrative expenses with respect to insured benefits and that are
properly allocable to the taxable year (but only to the extent that no

deduction was taken for such amounts in a prior year).

(c} For taxable years ending orior to November 5, 2007, with respect to life
“~ insurance benefits provided through. policies described in (3)(8) and (b) above,
the greater of the following amounts:3 . oe Fs

(i) in the case of an employer with a taxable year that is the calendar year,
the aggregate amounts reported by the ernployer as the. cost of
-_jnsgurance with respect to such policies on the employees’ Forms W-2 (or.

Forms 1099) for that year, plus an amount equal to the amounts that
" Wwould have been reportable on the employees’ Forms W-2 for that year,
_ put for the exclusion under section 79 (relating to- the cost of up to

$50,000 of coverage); or, in the case of an employer with a taxable year.
other than the calendar year, the portions of the aggregate amounis.

reported by the employer onthe Forms W-2(or Forms 1089) as.

described in (i), above, (or that would have been reported absent the
exclusion-under-§-79)-that-are. properly allocable, to the employer's. ee eee

taxable year, and —

3 For taxable years ending on of afer November 5, 2007, the amount under tis (4){c} is zero. ©

FORM 886-4 (REV. 01-94) Page 10 DEPARTMENT OF THE TREASURY-- INTERNAL

REVENUE SERVICE
Case 2:12-cv-06161-RBS Document6- Filed 12/03/12 Page 21 of 36

Form 86-8 EXPLANATION OF ITEMS SCHEDULE NO. OR
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ey JANUARY

« mee) Rev. January 2008

_NAME OF TAXPAYER

TAX IDENTIFICATION NUMBER YEARPERIOD ENDED
- Raphael Gabay -

December 31, 2007

‘Thus, the Beta Plan arrangement has ali four of the elements listed in Notice 2007-83.
Accordingly, the Beta Plan arrangement is the same as, or substantially similar to, the
qransaction described in Notice 2007-83.

* The Employer entered the BETA Individual Employer Welfare Benefit Plan on or after

_ February 28, 2003, As a result of the deductions claimed by the Employer with respect to its
contributions in the Plan, the amount of income flowing through to the Taxpayer's individual

reitirn, Form 1040, was reduced and the Taxpayer benefited from the Employer's

participation in the Plan. Thus, the Taxpayer participated in a listed transaction during the tax

year(s) ended December 37, 2005, December 31, 2006 and December 31,2007, Thus, the

Taxpayer had a requirement to attach a Form 8886,.Reporiable Transaction Disclosure

- Statementtd the Taxpayer's return for ihe tax year ended December 31, 2007. and file a copy

of the Form 8886 with the Office of Tax Shelter Analysis (OTSA). .

The Employer did not aitach the Form 8886 Reportable Transaction Disclosure Statement to
its return for the 2007 tax year.

The Employer did not file a copy of the Form 8886 Reportable Transaction Disclosure
Statement to Office of Tax Shelter Administration for the 2007 year, the first year required per

notice 2007-83.

The Taxpayer is subject to the penalty under section 6707A for the tax year{s) ended
December 31, 2007. .

" CONCLUSION

_ The iaxpayer participated In a Listed Transaction and did not disclose such participation by
properly filing Form 8886. The taxpayer's failure to'disclose was due to the failure-to: 4)
attach the Form 8886, Reportable Transaction Disclosure Siatemeni, io his return for the
years December 31, 2007, AND 2) file a copy of the Form 8886, Reportable Transaction
‘Disclosure Statement, to Office of Tax Shelter Administration for the years, December 31, .
Accordingly, Taxpayer is liable for the penalty under section 67074 in the amount of

$85,305.00 for the tax year ended December 31, 2007. ce

‘One or more worksheets are attached showing the calculation ofthe penalty.

FORM 886-A (REV, 04-94) Page 12 DEPARTMENT OF THE TREASURY-- INTERNAL

REVENUE SERVICE
Case 2:12-cv-06161-RBS Document6 Filed 12/03/12 Page 22 of 36

EXHIBIT “1”
Case 2:12-cv-06161-RBS Document6- Filed 12/03/12 Page 23 of 36

FormB86-A SCHEDULE NO. OR
IREV. JANUARY 1894) EXPLANATION OF ITEMS EXHIBIT
_ Rev. January 2008

-NAME OF TAXPAYER, TAX IDENTIFICATION NUMBER oo - .-.+ -s |. YEAR/PERIOD-ENDED
. ~-Gabay. Schwartz. Ent Asso! PC. oe December 31, 2007 __
Veer : T2007
Renelty per Section 6707A - ---» 4m $40,000.06
ISSUE”

Whether Gabay Schwartz Ent & Associates PC (hereinatter the Taxpayer’ or the a co
“Employer’) is subjeét to the 1.R.G. § 6707A' penalty for failure to disclose a reportable Dontt on
transaction pursuant ib section 6014 arid the associated requiations? a,

~ ay ts the BETA Individual Employer Welfare Benefi t Plan and Trust thereinatter the -
“Plan") the same as, or substantially similar to, the transaction described in IRS Notice 2007

83?
b) Has the Taxpayer participated in a listed transaction during the tax years) ¢ ended
December 31, 2005, December 31, 2006 and December 31, 20077 - »

6) Did the Taxpayer fail to properly disclose its. participation in accordance with
Treasury Regulation section 1.6011-4 for the tax year ended December 31, 2007 7 by failing to

file Form 8886:

(1) With its Income Tax Retum, Form 11208, for the year shown above; and/or,

(2) With the Office of Tax Shelter Analysis (hereinafter “OTSA").

FACTS

The issues in this case arise from Taxpayer's participation in the BETA Multiple
Employer Death Benefit Plan and Trust (“Multiple Employer Plan” or "MEP”) and. subsequent
adoption of the BETA Individual Employer Welfare Benefit Plan and Trust, at iSingle Employer

Plan” or “SEP").

The Employer participated in the Multipie Employer Plan prior to the amendment of the .-
MEP and creation and adoption of the Single Employer Plan, and the concurrent allocation of -

' Afl code sections are t6 the Internal Revenue Code of 1986, as ariended and in effect for
the years at issue.

FORM 886-A (REV. 01-84) Page 1° DEPARTMENT OF THE TREASURY — INTERNAL REVENUE

SERVICE
Case 2:12-cv-06161-RBS Document6- Filed 12/03/12 Page 24 of 36

SCHEDULE NO. OR

REV ANUARY 1994) | EXPLANATION OF ITEMS EXHIBIT
. Rev, January 2608

NNUMBER © - 7, YEAR/PERIOD ENDED

’ NAME OF TAXPAYER
December 31, 2007

Gabay. Schwartz. Ent & Assoc PC... a

_ MEP assets fo the singlé employer plans, The Taxpayer adopted the Multiple EmployerPlan
- -by-executing an-Adoption Agreement effective n/a. Note: A copy-of the Adoption Agreement =
was requested and never provided. , ete ee

Under the Multiple Employer Plan, current life Insurance protection was provided to ~~
covered employees. A covered employee designated the beneficiary of the death proceeds. -
payable upon the employee's death. The Multipie Employer Plan purported to be.a welfare
benefit fund that met the exception provided by section 419A()(6) from contribution deduction...
limitations imposed undersections 419-and:419A: :Section 419A(@)(6) applies only to- os

--coritributions to a.plan to which more than one employer.contributes, and fo which nop: fo. ee ee
. ermployer‘normally contributes more-than 10 percent of the total contributions: contributed to
ihe plan by all employers. Furthermore, the exception applies only if the.plan does not
-maintain experience-rating arrangements with. respecte individual employers..Aplan does...
not. meet the requirements of section 44 9A(f)(6) unléss 10 or more employers coniribute fo a.
single poo! of funds, and that single pool of funds is for the use of the group of employers as -
a whole (e.g., io pay the claims of all employees covered under the plan). Booth etal.v.°
“Commissioner, 108 T.C.524 (1897)... = - 8 :. mes

Participating employers made conitributions to the Multiple Employer Plan, which the —
Plan Trustee used to purchase life insurance policies from third-party insurance carriers on
the lives of the employer's employees, owners, or other persons. Under the terms of the
arrangement, the policies were owned by the Beta Multiple Employer Welfare Benefit Plan.
and Trust, which utilized a non-exempt trust to hold the plan assets. Each covered employee
selected the beneficiary of the death benefits payable under the MEP upon the employee's
death. The insurance policies were generally types of life insurance policies in whicha
portion of policy premiums are allocated to a cash value account within the policy that
accumulates as premiums are paid and interest or other investment accruals are credited by.
the issuer. These types of policies are commonly referred to as Whole Life, Universal Life

(UL) or Vaflable Universal Life (VUL).

The Plan Sponsor, Designs for Finance, inc. (DFF"), amended the Multiple. Employer
Plan to create the Single Employer Plan, an arrangement under which.a separate single
employer plan is provided for each participating employer. A common trust holds the plan
assets of each employer's single employer plan. The Muitiple Employer Plan assets...
_ allocated to the individual single employer plans remained with the Trustee of the Multiple -
Employer Plan, North Fork Bank, and a “common administration trust" was established to ~
hold the plan assets of each employer's single employer plan, However, under the Single
.Ernployer Plan, thee is separate accounting with respect to the participants ofeach |;

employer's single employer plan. ;

The Multiple Employer Plan assets allocated to single employer plans were no longer

subject fo claims relating to employees of other employers. In other words, assets
atiributable to amounts previously contributed to the Multiple Employer Plan (as well as

FORM 886-4 (REV, 01-04) Page 2 . DEPARTMENT OF THE TREASURY- INTERNAL REVENUE
SERVICE
Case 2:12-cv-06161-RBS Document6- Filed 12/03/12 Page 25 of 36

one. , SCHEOULE NO. OR
FormBB6-A EXPLANATION OF ITEMS EXHIBIT
_ (REV. JANUARY 1994)
Rev. January 2008
NAME OF TAXPAYER. - i DENTIFICATION NUMBER...) | YEAR/RERIOD ENDED

{December 31, 2007 _

ha wu Gabay Schwartz Ent Assoc PC.

assets attributable to subsequent contributions to an employer's single employer plan) were...
held forthe exclusive benefit-of:the-employee(s)-of the-employer whg had contributed such...
‘amounts. Further, these assets were held without any risk, which purportedly existed under
the Multiple Employer Plan, that the assets could be-tised for the employees.of other .-_ -
employers..c0. 0 Fis oe ee
. Both.the Multiple Employér Plan and the Single Employer Plan provided death benefits...
. funded through cash value life insurance policies. Although the Beta individual Employer... -- -.:-
_ Arrangement-allowed for the provision. of other behefits,-a July 13, 2006, opinion lettertoDFF - :
states that as of that date, the Singlé Employer Plan provided no sick and accident-benelits,. -
no disability orseverance benefits; orany “other. benefits” similar fo life, sick or accident: +...
- benefits, and. there was.no intention to provide such beneffis. ©0000 re ps

_ There are at least three Plan and Trust Agreemenis for the Beta Individual Employer.
Welfare Benefit Plan and Trust dated Januaty 1; 2003. All versions are signed by the Plan
Sponsor, OFF, and the Trustee, North Fork Bank; two versions provide an execution date of
December 1, 2003, and the third is undated. The signatures are unique to each document.
There is also an arnended Single Ernployer Plan and Trust Agreement dated January-7, _ -
2006, which was executed on December 30, 2006.

A Multiple Employer Welfare Benefit Trusi Severance Agreement effective January 1,
2003, was signed by DFF, North Fork Bank and Pointe Benefit Consulfants. There is no date
on the Agreement that corresponds to the signatures and no information has been provided _
regarding the date thé Severance Agreement was signed. The Severance Agreement states
that the Beta Multiple Employer Plan "contains more favorable features and flexible - |.
‘administration terms for covered employers and their participating employees, than would a
Plan which meets and complies with all of the requirements of the regulations” for section
419A(f)(6). As a result, the parties to the Agreement have decided “to sever the existing .
BETA Plan and Trust into separate individual employer plans maintained under.a common.
administration trust.” The parties to the Agreement desire “fo modify their participation in the.
BETA Plan and continuing under the newly established single employer format with Master, -
Trust Agreement.” ‘The Agreement further states that Pointe Benefit “established a common
419(e) trust for Plan years subsequent to December 31, 2003,” contributions to which “are «.
subject to the funding limitations set forth under Section 419A(c) of the Code, as actuarially:
determined by an actuary.” = - Soe ce coo alee

Subsequentto the adoption of.the Single Employer Plan, the BETA Plan-Trustee. . . -_
' requested that the ownership of the following life insurance policies be transterred fromthe. =.
"North Fork Bank as Trustee under the BETA Multiple Employer Welfare Benefit Plan & Trust,
dated 8/24/94 — 275 Broadhollow Road —Melvilie, NY 11747 TIN XX-XXXXXXX” fo the "North.
Fork Bank as. Trustee under the BETA Individual Employer Welfare Benefit Plan & Trust

FORM BB8-A (REV. Of-94) Page 3 DEPARTMENT OF THE TREASURY~ INTERNAL REVENUE

SERVICE
— Case 2:12-cv-06161-RBS Document6 Filed 12/03/12 Page 26 of 36

wea ° . SCHEDULE NO. OR

- EXHIBIT

__ (REV. JANUARY 1984) EAN naary 5008 ms

-tevs + NAME OF TAXPAYER elo ste CATION NUMBER 2 YEARIPERIOD ENDED.
ST AME ORTONTER op Be - | December 31, 2007 _

- dated 1/1/03 ~48530 Mack Ave., Suite 319 - Grosse Pointe Farms, Mi48236 TIN Pes 2e e t

~ BRAGAQOM. woe St
Covered Employee .-} insurance Co.) Policy Date Beneficiary.. —
/ oe Change Was Requested”
Raphael Gabay Guardian 4046416 nar
| Melissa Newumann-) 0 -] A. . ,
/'} Schwarke 0 Guardian | nan ol Ma.

. The Taxpayer contributed the following amounts to the Beta Individual Employer - .
Welfare Benefit Plant... , oo ee te

“Year” Contribution
Sob ae, {net of annual fee}
. 3005; - $178,784
‘P2008 $250,000
3007 1 $250,000

. The Taxpayer deducted the following .amounis on lis Form 14208 in. regard tothe.
contributions it madé'to the Plan: (starting with 3 year previous to penalty year). --

| Year a Deduction iiou).
.. 2005 - ° ’ Pansion, Profit. | $178,784
- we _ Sharing; Etc.
r+ 2008 Pension, Profit - | $260,000
Dt ' Sharing, Ete |.
> 2007. Pension, Profit $250,000
en ' Sharing, Ete: 4 -

The Empioyer-had the ability to terminate its participation and cause the distribution of —
the insutance policies continued under the Single Employer Plan. The Beta Individual .. . . -.-
Employer Welfare Benefit Plan and-Trust Agreement (the “Beta individual.Employer .
Agreement” or the “Agreenient’}, dated December 4, 2003, states that, under certain

- circumstances, the Employer “shalt have the right to terminate [the] Plan and Trust as.a
withdrawal by delivering written notice of such termination to the Recordkeeperto be:
forwarded to the Trustee with properly authorized written directives." Beta Individual .

DEPARTMENT OF THE TREASURY— INTERNAL REVENUE -

FORM 886-A (REV. 01-24) Page 4

SERVICE
Case 2:12-cv-06161-RBS Document6- Filed 12/03/12 Page 27 of 36

scoren BBG-A a . SCHEDULE NO. OR
(REV. JANUARY 1994) EXPLANATION OF ITEMS EXHIBIT
Rev. January 2008

NTIFICATION NUMBER - <2. . | YEARPERIOD ENDED

NAME OF TAXPAYER  - uo
af December 34, 2007

_Gabay Schwaity Ent ® Assoc PC é

:’ Employer Agreemeiit; Article 6.03: The. circumstances required are-any which meet one of. so 3°
~ -five -oriteria-pertaining-to-the Status. or-operation of the-employers business.-Qne ofthe or.

criteria: is ‘merely that “fa] determination. of the majority in ownership interest of the employer's - - ~

. equity by vote and’ value that the continuation of the Plan is not in the best interests of the ..

Employer and its ernployees on an ongoing basis" has been made. id: Thus,-even assuming --:
thai the rules put forth’in the Beta individual Employer Agreement are followed in practice, an: >,

: employer can terminate iis participation in the Beta Individual Employer Arrangement (and, vee

thus terminate its single employer plan) al any time by providing written notice fo the... --* -.

Armangemenm, us.

The Beta Individual Employer Agreement provides for the distribution-of the assets.of  - -.-

- the trustassociated with an employer's single employer plan, upon an employer's termination. 2

of participation in the Beta Individual Employer Arrangement. See Beta Individual Employer.
Agreement Article 6.03(c}. Under the Agreement, the distribution would be determined by:a..
ratio based on either (1) an employee's PS-58. costs as compared to the total PS-58 costs of...”
all covered employee’s, or (2) an employee’s compensation as compared to the total: ss 0
compensation of all covered employees, See Agreement Article 6.03(c)(ii)- Pope

The Employer did attach the Form 8886 Reportable Transaction Disclosure Statement
to its return for the 2007 tax year. The Employer did file a copy of the Form 8886 Reportable
Transaction Disclosure Statement to Office of Tax Shelter Administration for the 2007 year.
The disclosures made were deemed inadequate due to lack of Promoter and Administrator -

information.

LAV -

Section 6707A(a) provides that “any person-who fails to include on any returnor statement
any information with respect to a reportable transaction which is required under section 6011 -
io be included with such return or siatement shall pay a penalty in the amount determined. -
under subsection (b),”- 7 Se Pott
Section 6707A(b) imposes a penalty for failing to disclose participation in a “listed .

transaction” in the amount of 75 percent of the decrease in tax shown on the returnas a. -
result of such transaction (or which would have resulted from such fransaction fsuch .. ~

transaction were respected for Federal tax purposes). The amount of the penalty shall not. - -
- exceed $200,000-and $100,000 in the case ofa natural person and shall not be lessthan | -

$40,000 and $5,000 in the case of a natural person for assessments: made after December .
37, 2006. ~ : Lo mo Loe

Section 6707A (a) (1) grants the Commissioner authority to rescind all or a portion of any ...,
penalty imposed under section 6707A if (1) the violation relates to a reportabie transaction

FORM 885-A (REV. 07-94) Page § DEPARTMENT OF THE TREASURY — INTERNAL REVENUE

SERVICE
Case 2:12-cv-06161-RBS Document6- Filed 12/03/12 Page 28 of 36

| SCHEDULE NO. OR
Frey. YANUARY 1004 EXPLANATION OF ITEMS EXHIBIT
Rev. January 2008

- NAME OF TAXPAYER -

chat -TAXIDENTIFIGATION NUMBER. > |. 4 YEAR/PERIOD ENDED
_ Gabay Schwarz Ent. & Assoc PC. pet Moet

‘|. December 37 ,-2007

_- that is not alistéd transaction and’(2) rescission of the penalty would "Promote eampliance 63
- with- the: requirements ‘af the Code and: effective tax ‘administration: ct a lepine ce 8 TM gas

Section 8707 A(e)(2) defines: the tern listed transaction" tor mean a reportable transaction:.
which is the same as, or substantially similar to, a transaction.specifically identified by the’.

1 Secretary as a fax x avoidance transaction f for F purposes af section 6041." ys

. For Transactions Entered Into. on Or After February 28. 2003 (Taxpayers May Rely 0 on -
These Regulations For Transactions Entered Into On Or After fener, 1; 2003) and ..

Before August 3, 2007 {f. D. $046)

Alt references to: § 1 ot te are io that: regulation as s modifi ed by TD 2046, 2003- 1 é. B, 614. whet

‘Every taxpayer that has participated, as described. in 5 1 ‘604 4-4(c}(3), ina reportable.

’ transaction within the meaning of § 1.6014-4(b} and who. is required-to file a tax return must,

attach to its return-for the taxable year described in §-1.6011-4(e) a disclosure, statement in.
the form prescribed by §1.6011-4(d). Treas, Reg. § 1.6011~-4(a). Pa

A reportable transaction is a transaction described in § +.6011-4(b)}(2) through (7). The term, -
transaction includes all-of the factual elements relevant to the expected tax treatment of any
investment, entity, plan, or arrangement, and includes any series of steps carried out as part
of a plan. There are six categories of reportable transactions: listed transactions, confidential
transactions, transactions with contractual protection, loss transactions, transactions witha .
significant book-tax difference, and transactions Involving a brief asset holding: period. Treas.

Reg. § 1.8011-4(b)(1).

A listed transaction is a transaction that is the same as or substantially similar to-one ofthe - 2: 0°
types of transactions‘ that the internal Revenue: Service (IRS) has determined to be a tax

avoidance transaction and identified by notice, regulation, or other for of published... Co Hoe es
guidance as a listed transaction, Treas. Reg. $ 4. 607 4-4(b)(2). eg

A taxpayer has participated i in a listed transaction if the taxpayer's fax return reflecis tax.
consequences or a tax strategy described in the published guidance that lists the transaction...

- under §-1,604 1-4 (b}2).--A taxpayer.also has participated in a listed transaction ifthe. -
taxpayer knows or has reason fo know that the taxpayer's tax benefits are derived directly’ OF us:
indirectly from tax consequences ora fax'strategy described in published.guidance. thatlists a...

. transaction under § 4.60141-4(b}(2). Published guidance. may identify other types-or-classes . ..
of persons.that will -be treated as participants in a listed transaction. Treas. Reg. 8 16041: -

ACSA).

. The term substantially ‘similar includes any. transaction that is expected to obtain the same of:
similar types of fax consequences and that is elther- factually similar or based on the same or:

FORM 886-A (REV. 01-94) ’ Page 6 DEPARTMENT OF THE TREASURY-- INTERNAL REVENUE

SERVICE
3. Gabay Schwarz Ent Assoc. PC.

Case 2:12-cv-06161-RBS Document6- Filed 12/03/12 Page 29 of 36

SCHEDULE NO. OR

Ny IAMUARY 1904) EXPLANATION OF ITEMS EXHIBIT
, Rey, January 2008

NAME OF TAXPAYER = +)! ON NUMBER oa. + ,'* 4 YEARPPERIOD ENDED

December 31,2007

: ' sirnifar'tax strategy. Receipt of an opinion regarding the tax consequences of the transaction: one.
. js -not-felevantto-ihe determination -of-whether-the-iransaction-is the same.as.or substantially... .. -

similar to another transaction. Further, the term substantially similar. must-be broadly . ;. - ten oa,

- construed in favor‘of disclosure. Treas. Reg. § 1.6014-4{c}(4).

- The disclosuré staterrent for a reportable transaction, Form:-8886 “Reportable Transaction ol
-.." Disclosure Statement” (or successor form); must be attached to the taxpayer's tax return for. s .
“each taxable year for which a taxpayer'participates iia reportable transaction.- jn addition, a +.
"copy of the disclosure’ statement must be sent to-OTSA at the same.time that any disclosure. ne

statement is first filed with the taxpayer's. tax return.

: Ifa transaction becomes a listed transaction after the filing of the taxpayer's final tax retum. oe... |

reflecting either tax consequences or a tax strategy described in the published quidance =. -

‘fisting the transaction (ora tax bénefit derived-trom tax consequences oF. ataxstrategy. 2 o>

-- desoribed in the published guidance listing the transaction) and before the end of the statute. eae
-_ of limitations period for that return, then a discidsure statement must be filed-as an... -

attachment to the taxpayer's tax return next filed after the date the transaction is listed.
Treas. Reg. § 1.604 1-4(e)(2ii). :

Example From the Regulations - Treasury Regulation § 1.601 1-4(e)(4) reads as follows:

(4) Example. The following example illustrates the application of this paragraph (e):
Example. In January of 2004, F, a domestic calendar year corporation, enters into a
transaction that is not a listed transaction when entered into and Is nota transaction .
described in any of the paragraphs (b)(3) through (7) of this section. All the tax benefits

from the transaction are reported on F's 2004 tax return. On March 71,2008; fhe IRS
publishes a notice identifying the transaction as a listed transaction described in
‘paragraph (b)(2) of this section. Thus, ‘upon issuance of the notice, the transaction - -
becomes a reportable transaction déscribed in paragraph (b) of this section..The. .
statute of limitations for F's 2004 taxable year is still open. F Is required to fle. Form
8886 for the transaction as an attachment to F's next filed Federal income tax return
and must send a copy of Form 8886 te OTSA. If F's 2007 Federal income tax retum

_ hes not been filed on or before the ‘date the Service identifies the transaction as a
listed transaction, Form 8886 must be attached to-F's 2007 return and ai thaitimea

copy of Form 8886 must be sentto OTSA.

Notice 2007-83

in Notice 2007-83, the IRS alerted taxpayers and their representatives to.some ofthe ..
significant tax problems that may be raised by certain trust arrangements claiming tobe
welfare benefit funds and involving cash value life insurance policies that are being promoted -
io and used’ by taxpayers to improperly claim federal incorne and employment tax benefits.

FORM 886-4 (REV, 01-94} Page? DEPARTMENT OF THE TREASURY~ INTERNAL REVENUE
SERVICE
_ (REV. JANUARY 1994)

red Gabay. Schwartz Ent & Assoc PC.

Case 2:12-cv-06161-RBS Document6- Filed 12/03/12 Page 30 of 36

. SCHEDULE NG. OR
Form BBB-A EXPLANATION OF ITEMS EXHIBIT
Rev. January 2008

ATION NUMBER  - toe 2 4 of YEAR/PERIOD ENDED

NAME GF TAXPAYER.
December 31, 2007

.. -The-nofice.alerts taxpayers and their representatives.that those transactions-are tax -
-aveidance transactions-and identifies certain iransactions using-irust arrangements: involving. -

cash value life insurance policies, and-substantially similar transactions, as disted transactions - os

‘<° for purposes. of & A ‘604. 4 TeatoX2) of the Income Tax Reguiatlons and BS 64 4 and. 81 12 of the...
: Code. ;

"Notice 2007-88 describes generally arrangements that are sometimes referred to. aby.

So the persons: advocating-their use as “single employer plans” and sometimes as “449(e)} >;
.. plans.” Those advotéites: claim that emiployers’ contributions to the trust-are deductible under.
sections 419 and 449A as qualified costs2 but that there | is nota corresponding inclusion in.

the owner's income. vet,

Under these arrangements, the plan and: irust ‘documents indicate that the plan...

a provides benefits such.as current death benefit protection and certain welfare benefits fo. ote
- covered employees. {including those.employees who are also owners of the business). The:.
arrangement provides that the benefits are payable while the employee is actively. empved.

by the employer. The employer's contributions are. often based on premiums charged fer «.

cash value fife insurance policies. For example, contributions may be based on premiums .

that would be charged for whole life policies. As a result, the arrangements often require —
large employer contributions relative io the actual cost of the benefits currently provided .

under the plan.
Under these arrangements, the inusiee uses the employer's contributions to the trust ..

to purchase life insurance policies. The trustee typically purchases cash value life insurance

policies on the lives of- the-employees who are owners of the business {and sometimes other"

key employees), while purchasing ferm life insurance. policies on the lives-of the-other-.

employees covered under the plan. itis anticipated that after a number of years the plan will.
be terminated andthe cash value life insurance policies, cash, or other property. held by the. ce
trust will be distributed. to the empioyees.who are plan participants at the time of the... Po.
termination, While a small amount may, be distributed to employees who are not owners of.

the business, the timing. of the plan termination and ihe methods used fo allocate the <1.
remaining assets are. structured so that the business.owners and other key employees will:

_ receive, directly or indirectly, a all or a substantial. portion of the assets held. by. the trust. -

in addlttion, Notice 2007.83 identifi ies certain arrangements as listed transactions...
Notice 2007-83 states that any transaction that Ras all of the following elemerits, and any _
transaction that is substantially similar to such a transaction, are identified as “isted. >
transactions” for purposes of § 1.604 Tae) and 85 6 6111 and 6112, effective Ostober. 17,

, 2007:

2 Section A190) of the Code generally describes qua ified cosis a5 the sum, of qualified direct costs plus additions to
qualified asset accounts.

FORM SBG-A (REV. 01-94} Page 8° DEPARTMENT OF THE TREASURY~ INTERNAL REVENUE

SERVICE
Case 2:12-cv-06161-RBS Document6- Filed 12/03/12 Page 31 of 36

Form 886-A

(REV, JANUARY 1994}

EXPLANATION OF ITEMS EXHIBIT
Rey. January 2008

- NAME OF TAXPAYER.
~-Gabay schwarz Ent & Assoc PC

SCHEDULE NO. OR

TAX IDENTIFICATION NUMBER. 0... «| YEARPERIODENDED .
wee 7 1 | December 31,2007

|

{t) °° The fransaction involves a trust.or- other Func: ‘described I in 8 HENS) thats IS ep a
‘ ‘purportedly a welfare. ‘benefit fund. VAR Ene ode pa a et a!

_ (2) F For determining the portion: of its. contributions to ‘the rust or other fund that are-
currently deductible the employer does not rely on the exception in 8 a ARENA)
(regarding collectively, bargained plans). a Boe

(3) The frust OF. ‘other, fund. pays. premiums (or ainounts that are purported: fo. be. premiums).
_ on one or more life i insurance policies. and,. with sespect to ai leasi one BOF the policies, .

‘value j is accumulated either:.

(@)
).

within the policy (for example, acash value life | insurance policy); or

“Sutside’ the policy (for example, jn a side. fund or through an agreement sutside -
the policy allowing | the policy { to be converted to or exchanged for a policy which .,

: - will, at some point in fime, have accumulated yalue based on the purported
. . premiums paid on the original policy), -

(4) The employer has taken a deduction for any taxable year for its contributions to the
fund with respect to benefits provided under the plan (other than post-retirement
madical benefits, post-retirement life insurance benefils, and child care facilities) that

is greater than the sum of the following amounts:

* (a)

a

(b)

With respect to any uninsured benef ts provided under the plan,

oo

i)

(Wy)

‘an amount equalto claims that were ‘both incurred and paid during the :
taxable year, plus a no

. the limited reserves allowable under r§ 419A(oK) or (C)(3)s as. epplcabe. .
- plus © .

amounts paid during the taxabl e year io satisfy claims incurred tn-a prior
‘taxable year (but only fo the-extent that no deduction. was taken for such

- amounts in a prior year}; plus -—

amounts paid during the taxable:year or a prior taxable year for
administrative expenses with respect fo uninsured benefits and that are:

"properly ¢ allocable tothe taxable year (but only to the extent thatno

deduction was taken for. such amounts in @ prior year).

With respect to any insured benefits provided under the plan,

FORM &86-A (REV, 01-94) ,

SERVICE

Page 9 DEPARTMENT OF THE TREASURY~ INTERNAL REVENUE
Case 2:12-cv-06161-RBS Document6- Filed 12/03/12 Page 32 of 36

. SCHEDULE NO. OR ”
een TANUARY 4854) EXPLANATION OF ITEMS EXHIBIT
’ oo Rey. January 2008

. NAME OF TAXPAYER. ... -. - | TAX IDENTIFICATION NUMBER .YEARPERIOD ENDED
_Gabay Schwartz Ent & Assoc PC - es

m3) - insurance premiums paid during-the taxable year that are properly —- ou
. ...... allocable-to.the.taxable-year.(other.than-premiums paid with. respect to. a
policy sesoribed i in @)@) or tp) above); plus cepa

“i “insurance p premiums paid in prior taxable years that are properly allocable:
. to the taxable year (other than premiums paid with respect to a policy ~ Lt
) described t in (3a) or &) above); plus Se Pen

cae. Gif): ‘amounts paid during the taxable year ora. prior r taxable yeai for
administrative expenses with respect fo insured benefits and that are
properly allocable to the taxable year (but only fo the extent that no -
deduction was taken for such amounts in’a prior year).

(0) For laxalble years ending | priorte Noverriber 5, 2007, ‘with ) respect folife -

- + the greater of thé following amounts:3 ~

(i) in the case of an employer with a taxable year that is the calendar year,
the aggregate amounts reporied by the employer as the cost of
‘insurance with respect io such policies on the employees’ Forms W-2 (or. -
- . Formé 1099) for that year, plus an amount equal to the amounts that .

would have been reportable on ihe employees’ Forrns W-2 for that year,

_ but for the exclusion under section 79 (relating to the cost of up fo.
$50,000 of coverage); or, in the case of an employer with a taxable year | |

_ .othér than the calendar year, the portions of the aggregate amounts ©. 3.- °°

reported by the employer on the Forms W-2 (or Forms 1099) as
described in (), above, (or that would have been reported absent the,

_ éxelusion under § 79) that are properly allocable to the employer's :

taxable year; and

(i) _ with respect to each empl loyee insured under a cash value life insurance
Oo , policy, ihe aggregate cost of insurance charged uncer the policy or
" policies with respect to the amount of current life insurance coverage -
provided to the employee under the plan oe limited to the product of the. os
_ . current life insurance coverage under the plan multiplied by the current .. 9.
"year’s mortality, rate provided in the higher of the 1980 or 2004 CSO. . ve oe

Table).

dd ” The additional reserve, if any, under § 419A (6) {relating io medical benefits -.-
_provided through a plan maintained by a bona fide association), but only to the ---
extent amounts are not already included above in this paragraph (4); and only .

3 For taxable years ending on or after November 5, 2007, the amount under this {4c} is zero.

FORM 886-A (REV, 01-94) Pane 10 DEPARTMENT OF THE TREASURY-- INTERNAL

REVENUE SERVICE

-, | December 34, 2007
Case 2:12-cv-06161-RBS Document6- Filed 12/03/12 . Page 33 of 36

“Fore 886-4 EXPLANATION OF ITEMS sere NOOR
REV. JANUARY A
ee) Rev. January 2008

NAME OF TAXPAYER: © 5 00:

XPA Doe TAUIDENTIFICATION NUMBER - .. .+ | YEARPERIOD-ENDED
‘Gabay Schwariz Ent. & Assoc PC Pe tte

December 31, 2007.

“+ ‘4g the extent that'no.deduction was taken for such amounts in a priortaxable. 9. .-

" GOVERNMENTS POSITION

-.Notice 2007-83 identifies as a listed transaction any transaction that-has ail four. of the oe

- --» “glements fisted in the Notice and any transaction that is substantially.similariqa sucha...

..- transaction. As described below, the Plan has.all of the elements described in Notice 2007- ° - a
-‘The-Plan irivolves a trust that purports to be a welfare benefit fund, Accordingly, the Plan has --- .
element (1) of Notice 2007-83. te ot

os The employers'participating ini.the Plan do not raly:on the exception in section.419A@5) for...

~~. golléetively bargained’plans. Accordingly, the Plan has element (2) of Notice: 2007-83. 0 os

The trust associated with the Plan pays premiums on one of more cash value life insurance
policies with fespect'to the participating employers. Accordingly, the Plan has elemeni.(3) of
Notice 2007-83. a a , noe

The Taxpayer has taken 4.deduction for its contributions fo the Plan, In-any taxable yearoft -
the Taxpayer, for which the Taxpayer has elected to provide for such taxable year only pre-.
retirement benefits. Thus, the Plan has element (4) of Notice 2007-83 for the following
reasons, Because the only benefit provided under the Beta Plan is life insurance coverage
- (and that coverage is not a post-retirement life Insurance benefit), and. because.the employer .
has deducted amounts that are greater than the aggregate amount described in paragraph
-_ (4)(b)(H) and (4)(c) of Notice 2007-83, the employer. has-taken a deduction-for a taxable year . -
for its contribution to the Beta Plan that is greater than the sum set forth in element (4)of |.
Notice 2007-83. Accordingly, the Beta Plan has element (4) of Notice 2007-83. 0°

Thus, the-Beta Plan arrangement has all four of the elements listed in Notice 2007-83,.
Accordingly, the Beta Plan arrangement is the same as, or substantially similar to, the .-.
transaction described in Notice 2007-83: __- Be

_’. The Taxpayer entered the BETA individual Employer Welfare Benefit Plan on orafter. .
_ February 28,2003. Thus, the Taxpayer. participated in. a listed transaction during the tax — .

' year(s) ended December 31, 2005, December 34, 2006 and December 31, 2007. ‘Thus, the ~~
Taxpayer had a requirement fo attach a Form 8886, Reportable Transaction Disclosure

Siatement-to the Taxpayer's return for the tax year énded: December 31, 2007 and file acopy
of the Form 8886 with the Office of Tax Shelter Analysis (OTSA). 7

FORM B86-A (REV. 01-84} Page 14 DEPARTMENT OF THE TREASURY INTERNAL

REVENUE SERVICE
Case 2:12-cv-06161-RBS Document6- Filed 12/03/12 Page 34 of 36

XHUBIT “C”

Page 35 of 36

Filed 12/03/12

Case 2:12-cv-06161-RBS Document 6

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P.

Ne. 4795

9:24AM

Oct. 17, 200

CEPARTMENT OF THE TREASURY
INYEHNAL REVENUE SERVICE
Wretington, 0.5, gid

SAMLL SUSINE RRS ELREPLOVED DTG DM

September 15, 2044

Gabsy Sdewartz Ent & Aqsoclatas PG
$500 Roosevelt Bivd
Philgdelpiia, PA 19446-3928

Dear Taxpayer:

Was ane writing this letie!, cerfified mail, to Inform you tat
you need fo fake necessary action a8 acon as possible, We
neve tried to contest you previously. [ils impartant that you
respond 1o uB.

Pieags tind enclosed ihe 6TO7A Notification Letter, Foret
2648 and Form 872. The 8707A Notification Letter is the
initial comactletier inforning you thatthe B707A civil
penalty refated to your participation ina reportable
bemseation may be applicable te you. Forn 2648 qaede te
be compbted and malied or faxed to our aifica if you chose
tp have somenne represent you on fils issue. Finally, by
signing For 872 to extend the sintufe, you wil ba able to
request an aposaia conferance should you aot agree with
the serdisas position. If youde not sign Fonn 872 extending
the sfatuta, the 8707A penalty will be aasessad, Interest will
start to aeons and the cage wil he referred for collaction.

itl very imoportant thal you nsepond to us a3 econ as -
posathis,

Sincerely yours,
les Gora>
Sande Czore
intemal Revenue Agant
{718 284-8094
Enz
87074 Nofification Letter
Fown 2848
Fown 972
Page 36 of 36

Filed 12/03/12

Case 2:12-cv-06161-RBS Document 6

P.5

No. 4795

9:24AM

Oct. Tf, 201

DEPARTMENT OF THE TREASURY
INPRANAL AEVERUE SERVICE
WASHIGTON. 0.0, 26278

Foon te Ccninch Banden Crara
‘Exmploypes Idertificntian Nombers OGLeTl6
Counted Addresy £30 fo Bimnood Ave

. Ballets AY W226
ps0 Roca Bid ele Ramen eee
Philadelphia PA i915 es Dates SAAT

Dear Tarpayen:

Weare wilting this inter te inform you fctwe am considering acertiag poualtics provided index Lajernal
Rovouus Code $6707A for-nat adequately disclaslug a sted iensivtlon ap is ssguimid uodes Tresmue
Raguintion §1,4014-4(2), ‘This penalty would ba apolinable far sews due after October 22, 2004, The listed
bansartion in queation is described ander Notloe 94-36, Intemet Revenue Bulletin 1995-1, a3 “Tex Problems
Tulsed by Ocabain Trust Arrangemoat Sectdog fe Qealifyfor Exernption frome Section 419"

The tindtation pariod allowed by lew fpr aaseasing this penalty will expire snoa Therefor, we request that you
conscnl to extol che period tor sssesument. Enclosed in Porn 872, Comment to Extend the Time to Assess Tax.
By signing the encloued consent, edeqnete imo will be available to compile all fants relative to munidzg 6
Seterminalioneas to whether the clarernentlonedypmalty is applicable, U-you agra to the terms Eo the exnlosed
aonsea fiom, plezze sign all copies of the coxsent and rein them by (agent snler date) in the eaclosed
envelope,

Upon accupiance, we will satin an approved copy foc sear records.

Te you chavs not fo cotacnt io otc thastatyte of Elmitaiions the Service vi ll main 6 determination of the
applinsbility of the penalty bosed yponavallable fel. This may asl fe the aszecting of te IRC SHTA
poralty.

Plosso rovlow thoepclosad Publication 1035, Extending the Tax Asdesmont Peringd, fora more detalied
explanation of your rights, options, and prooninres,

Ao, plone find enclosed Pores. 2848, Sower af Atiomoey and Declation of Rapeenestative, If yon wish Io
Have semenns represtat you bafose tho Servos wiih regards io this matter, specist langmge isrequieed with
sespent ta the IRC 67074 pennliy to allow the Sarvive fa discuss this feeue with pour authorized representative.

Should you kaye any questions-or cansams, ylesss contachthe pamon whoaensnie and nmober fs yhown above,

Sincere}
ide
Sandra Coote
